         Case 18-03036            Doc 159       Filed 12/29/18 Entered 12/30/18 00:52:12                          Desc Imaged
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                                             United States Bankruptcy Court
                                          Western District of North Carolina
Ace Motor Acceptance Corporation,
         Plaintiff                                                                                Adv. Proc. No. 18-03036-jcw
McCoy Motors, LLC,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0419-3                  User: ea                           Page 1 of 1                          Date Rcvd: Dec 27, 2018
                                      Form ID: pdf                       Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 29, 2018.
cr             +Bank of New England,    Attn: Glenn Boghosian, Esq.,   Boghosian Hawkins & Remmes,
                 45 Haverhill St.,   Andover, MA 01810-1414
dft            +McCoy Motors, LLC,   3606 Highway 51,   Fort Mill, SC 29715-8351
dft            +Misty McCoy,   11915 John K Hall Way,   Charlotte, NC 28277-2855
dft            +Robert McCoy, Jr.,   3606 Highway 51,   Fort Mill, SC 29715-8351
5834221         North Carolina Department of Revenue,   Bankruptcy Unit,   P.O. Box 1168,
                 Raleigh, NC 27602-1168

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
5834220        +E-mail/Text: cio.bncmail@irs.gov Dec 27 2018 18:27:34     Internal Revenue Service,
                 P.O. Box 7317,   Philadelphia, PA 19101-7317
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
pla               Ace Motor Acceptance Corporation
dft               Flash Autos, LLC
dft               McCoy Motors, LLC d/b/a Ride Fast
dft               Robert McCoy, III
                                                                                                                    TOTALS: 4, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 29, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 27, 2018 at the address(es) listed below:
              James H. Henderson    on behalf of Plaintiff    Ace Motor Acceptance Corporation
               henderson@title11.com, ginny@title11.com
              Kristin Harmon Lang    on behalf of Defendant Misty McCoy kharmonlang@gmail.com
              Kristin Harmon Lang    on behalf of Defendant    McCoy Motors, LLC d/b/a Ride Fast
               kharmonlang@gmail.com
              Kristin Harmon Lang    on behalf of Defendant    McCoy Motors, LLC kharmonlang@gmail.com
              R. Keith Johnson    on behalf of Creditor    Bank of New England rkjpa@bellsouth.net
                                                                                               TOTAL: 5
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          FILED & JUDGMENT ENTERED
                    Steven T. Salata




                December 27 2018


            Clerk, U.S. Bankruptcy Court
           Western District of North Carolina
                                                                             _____________________________
                                                                                      J. Craig Whitley
                                                                               United States Bankruptcy Judge




                        UNITED STATES BANKRUPTCY COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
  In Re:                               )
                                       )
  Ace Motor Acceptance Corporation,    )    Chapter 11
                                       )    Case No. 18-30426
                      Debtor.          )
                                       )
                                       )
                                       )
                                       )
  Ace Motor Acceptance Corporation,    )
                                       )
                      Plaintiff.       )
                                       )    Adversary Proceeding
  v.                                   )    No. 18-03036
                                       )
  McCoy Motors, LLC;                   )
  McCoy Motors, LLC, d/b/a Ride Fast;  )
  Robert McCoy, Jr.; and Misty McCoy   )
                                       )
                      Defendants.      )
                                       )

                              SUPPLEMENTAL ORDER
           (TO NOVEMBER 21, 2018 ORDER RECOMMENDING WITHDRAWAL OF
          REFERENCE OF ADVERSARY PROCEEDING FOR FURTHER CIVIL, AND
                 POTENTIALLY CRIMINAL, CONTEMPT PROCEEDINGS)

            ON NOVEMBER 21, 2018 the undersigned entered an order recommending that the U.S.

  District Court withdraw reference1 of this Adversary Proceeding in its entirety for the purpose of


  1
      Pursuant to 28 U.S.C. 157(d).
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  undertaking further civil contempt proceedings and potentially initiating criminal contempt

  proceedings against Defendants, McCoy Motors, LLC (“McCoy Motors”) and Robert McCoy, Jr.

  (“McCoy”) and to consider entry of default against these defendants (the “Recommended Order”)

  (Docket no. 104). That recommendation is pending before the Hon. Robert Conrad, U.S. District

  Judge.

           Since entry of the Recommended Order, further hearings have taken place in bankruptcy

  court. Specifically, on December 18, 2018 an evidentiary hearing was conducted on the following

  matters:

           1) Ace Motor Acceptance Corporation’s (“Ace”), Motion for Order Granting Leave to File

           Second Amended Complaint to Add Parties and Additional Causes of Action; (Docket no.

           99);

           2) Ace’s Motion for Order Appointing Receiver for McCoy Motors, LLC and Flash Autos,

           LLC (Docket no. 107);

           3) McCoy’s Motion for Dismissal and Opposition to the December 18, 2018 Hearing and

           the Appointment of Receiver (Docket no. 123);

           4) Ace’s Motion for Order Striking “Motion for Dismissal and Opposition to the December

           18, 2018 Hearing and the Appointment of Receiver” [Doc. 109] and Imposing Sanctions

           on Robert McCoy, Jr. for Continued Violations of North Carolina Statutes and Local Rules

           Pertaining to Unauthorized Practice of Law (Docket no. 111);

           5) McCoy’s Motion for Order to Dismiss/Remove James Henderson as Plaintiffs/ Debtors

           Attorney, Refer James Henderson to the US Attorney for Perjury and NC Bar for Violation

           of Rules of Professional Conduct Request for Hearing Date of December 18, 2018 (Docket

           no. 122);




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         6) Ace’s Motion for Order Striking Pro Se Objection by Robert McCoy to McCoy Motors,

         LLC Subpoena; Motion for Order Holding Robert McCoy in Further Contempt of Court

         Pursuant to Bankruptcy Rule 9016 and Rule 45(g) of the Federal Rules of Civil Procedure,

         Compelling Compliance and Requiring the Payment of Fees and Costs; Request for

         Emergency Hearing (the “McCoy Contempt Motion”) (Docket no. 139);

         7) Ace’s Motion for Order Finding Robert McCoy III in Contempt of Court Pursuant to

         Bankruptcy Rule 9016 and Rule 45(g) of the Federal Rules of Civil Procedure, Compelling

         Compliance and Requiring the Payment of Fees and Costs; Request for Emergency

         Hearing (the “McCoy III Contempt Motion”) (Docket no. 140);

         8) Kristin Harmon Lang’s Motion to Withdraw as Attorney for McCoy Motors, LLC,

         McCoy Motors, LLC D/B/A Ride Fast, Rob McCoy and Misty McCoy (Docket no. 144).

         Plaintiff, Ace, appeared at the December 18, 2018 hearings through counsel and presented

  evidence in support of its positions. Misty McCoy and McCoy Motors likewise appeared through

  counsel. McCoy appeared pro se. Robert McCoy III (“McCoy III”) and Flash Autos, LLC

  (“Flash”) did not appear.

         Bench orders were announced during these hearings granting some of the motions, denying

  others, and taking a third group under advisement, including the motion to appoint a receiver.2

  2
    Granted: Ace’s Motion for leave to amend its complaint. Denied: 1) McCoy’s Motion for Dismissal
  and Opposition to December 18, 2018 Hearing and Appointment of Receiver (lack of standing); 2)
  McCoy’s Motion for Order to Dismiss/Remove James Henderson as Plaintiffs/ Debtors Attorney, Refer
  James Henderson to the US Attorney for Perjury and NC Bar for Violation of Rules of Professional
  Conduct Request for Hearing Date of December 18, 2018; 3) Ace’s Motion for Order Striking “Motion
  for Dismissal and Opposition to the December 18, 2018 Hearing and the Appointment of Receiver” [Doc.
  109] and Imposing Sanctions on Robert McCoy, Jr. for Continued Violations of North Carolina Statutes
  and Local Rules Pertaining to Unauthorized Practice of Law. Under Advisement: 1) Ace’s Motion for
  Order Appointing Receiver for McCoy Motors, LLC and Flash Autos LLC; 2) that portion of Ace’s
  Motion for Order Striking McCoy’s Motion to dismiss, etc. seeking sanctions against McCoy for the
  unauthorized practice of law; 3) Ace’s McCoy Contempt Motion; and 4) Ace’s McCoy III Contempt
  Motion. Continued: Attorney Lang’s Motion to Withdraw.



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  Written Orders are currently being prepared and will be entered as quickly as possible.

         That said, the evidence presented during these hearings provides new facts (and corrects

  several previously misrepresented facts) concerning post injunction actions taken by McCoy,

  Misty McCoy, and McCoy Motors (the “Defendants”) in derogation of Ace’s rights as a property

  owner and/or a secured creditor and this Court’s orders. The undersigned believes it should

  summarize what was gleaned from these latest hearings for the benefit of the U.S. District Court

  in considering withdrawal of reference, and potential next steps in the proceeding if reference is

  withdrawn.

                                     PRIOR PROCEEDINGS

         Prior proceedings in this action which led to McCoy and McCoy Motors being held in civil

  contempt are detailed in several orders: 1) Order Concerning Interim Servicing of Accounts of

  Vehicle Buyers; and Order Setting Hearing on Preliminary Injunction (the “June 25 Order”)

  (Docket no. 8); 2) the Order Granting Motions for Preliminary Injunction and Other Emergency

  Relief (the “August 1 Order”) (Docket no. 26); 3) the Order Finding Certain Defendants in Civil

  Contempt and Continuing Pretrial Conference (the “Contempt Order”); and last, 4) the

  Recommended Order (collectively, the “Orders”).

         In sum, this is a UCC foreclosure and collection action by Ace, a floorplan lender, against

  its borrower, McCoy Motors. Having been thwarted in its post default efforts to recover its

  property/collateral, Ace filed suit. What makes this proceeding unusual and procedurally difficult

  is the fact that the action was not brought in South Carolina state court, where McCoy Motors is

  located, but rather in the Western District of North Carolina—in the bankruptcy court in which

  Ace is a Chapter 11 Debtor in Possession.

         After the action was filed, Ace quickly sought injunctive relief to secure its




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  property/collateral. The parties agreed to a consent order, the June 25 Order, that was intended to

  preserve the status quo pending a preliminary injunction hearing. That consent order kept McCoy

  Motors in possession of the underlying property and allowed McCoy Motors to continue to collect

  customer accounts, but it also required the Defendants to preserve the property, account for the

  same, and to escrow collections. Unfortunately, the Defendants made little or no effort to comply

  with the June 25 Order. As a result, and after a further evidentiary hearing, the August 1 Order

  was entered—a mandatory, preliminary injunction. The August 1 Order awarded Ace possession

  of the underlying property pending trial (subject to a requirement to preserve the assets, account

  for the same, and escrow collections) and terminated McCoy Motors’ right to collect the customer

  accounts.

         Again, the Defendants failed to comply with the August 1 Order. Among many things,

  they prevented Ace from entering McCoy Motors’ premises to obtain possession of its vehicle

  inventory, they continued to repossess cars and collect payments from customers and secreted the

  same, they made no effort to provide any accounting, and they undertook efforts intended to give

  the impression that McCoy Motors had gone out of business. According to the Defendants’

  testimony, shortly after the August 1 Order was entered, McCoy Motors closed, sent its records to

  the South Carolina Department of Motor Vehicles, surrendered possession of its location to the

  landlord, and was now defunct. The Defendants maintained that a new and entirely independent

  entity, Flash, was now operating at the site. While Ace demonstrated that Flash was a newly

  formed business owned by the McCoy’s 20-year-old son, McCoy III, a college student, the

  Defendants maintained that they were not involved in its formation and were entirely ignorant of

  its business affairs. The Defendants’ contentions in this regard were incredible and were rejected.

  It appeared that Flash was a sham.




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          McCoy and McCoy Motors were held in civil contempt for failing to comply with the June

  25 Order and the August 1 Order; as well as the Order Continuing Hearing to September 18, 2018

  on Conditions. However, Defendant Misty McCoy was not held in civil contempt. Both McCoy

  and Misty McCoy testified at the contempt hearing that Misty McCoy was not an active employee

  of McCoy Motors and was not a participant in any of these matters. Lacking access to McCoy

  Motors’ premises and records, Ace was unable to prove otherwise.

          The contempt hearing was followed by a purge hearing on November 6, 2018. On that

  date, McCoy and McCoy Motors had not in any way purged themselves of their contempt. Thus,

  the undersigned bankruptcy judge entered the November 21, 2018 Recommended Order—it

  appearing that nothing less than incarceration of McCoy for civil contempt would secure

  compliance with the undersigned’s prior orders.3 It further appeared that these parties were also

  guilty of criminal contempt.4

          Meanwhile, the present motions were joined and scheduled for hearing in bankruptcy court

  on December 18, 2018. Notably, Ace now asks that a receiver be appointed for McCoy Motors

  and Flash.

          Seeking testimony and documentation to support its motions, Ace served subpoenas and

  subpoenas duces tecum upon McCoy Motors, McCoy III/Flash and others. (Docket nos. 116 and

  119). None of the parties subpoenaed sought protection from the subpoenas. McCoy did attempt

  to quash the subpoenas and to force a continuance of the December 18, 2018 hearings. However,

  McCoy was not a subject of the subpoenas, he did not assert any interest or privilege in the same,



  3
    Although bankruptcy judges have civil contempt powers, including the power to arrest recalcitrant
  parties to secure compliance with their orders, the longstanding local district practice has been to address
  such matters in U.S. District Court
  4
    It is generally understood that bankruptcy judges do not possess criminal contempt powers. See Souther
  v. Tate (In re Tate), 521 B.R. 427, 440 (Bankr. S.D. Ga. 2014).


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  and as McCoy Motors is an incorporated business represented by counsel, he was not able to object

  on its behalf. In any event his objections were without merit and were overruled.

         Two of the subpoenaed parties, McCoy Motors and McCoy III failed to respond to the

  subpoenas. Neither produced any of the requested documents or information. McCoy Motors

  appeared at this latest hearing but offered no excuse for its failure to respond to its subpoena.

  McCoy III/Flash did not appear at the December 18, 2018 hearings. Accordingly, both are subject

  to civil contempt and discovery sanctions for failing to obey the subpoenas without adequate

  excuse. Fed. R. Civ. P. 45(g).

                      SUPPLEMENTAL FINDINGS AND CONCLUSIONS

          In spite of these failures to respond to valid subpoenas, Ace was able to present evidence

  at the December 18, 2018 hearing which demonstrated that McCoy and McCoy Motors remain in

  contempt of this Court’s orders. In fact, the new evidence confirmed that all of the Defendants

  have been engaged in, and are still embarked on, a wholesale effort to secret and convert Ace’s

  property/collateral. Notably, Ace presented the testimony of a former employee of McCoy Motors

  and Flash, Austin Robertson (“Robertson”). Robertson was a credible witness with personal

  knowledge of the actions of McCoy, Misty McCoy, McCoy Motors, McCoy III, and Flash during

  the times in controversy. Defendants did little, if anything, to refute Robertson’s sworn testimony,

  and on this occasion offered no witness testimony in their own in defense of Ace’s motions.

         Robertson’s testimony confirms that McCoy and Misty McCoy perjured themselves on

  numerous occasions at the September 26, 2018 and November 6, 2018 hearings. It also indicates

  that the Defendants’ prior representations about their efforts to comply with the aforementioned

  injunctions and contempt orders were false. The following facts are now clear:

         1. The Defendants have, and continue to, conceal and dispose of Ace’s collateral in




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  contravention of this Court’s orders. During the pendency of this proceeding, McCoy and Misty

  McCoy continued to collect car payments from customers, but would only accept cash or money

  orders from McCoy Motors customers so that no “money trail” was created.

          2. Additionally, McCoy directed Robertson to move vehicles (Ace’s collateral) behind a

  locked fence. McCoy further hid or attempted to hide an additional 50 vehicles at other locations.

  Finally, McCoy instructed Robertson and other McCoy Motors employees to remove valuable

  parts from McCoy Motors’ vehicles in order to use them to repair and improve Flash’s vehicles.

         3. McCoy went on a spending spree in order to create the appearance that neither McCoy

  nor McCoy Motors had any money or assets. McCoy recently paid Robertson to do substantial

  work on his home and purchased three ATV’s, a UTV, two Harley Davidson motorcycles, a Tahoe,

  a Camaro, a BMW, and a boat. Previously McCoy had advised this Court that he was without

  income. He did not explain how he was able to make such weighty purchases given his alleged

  financial extremity.

         4. On September 26, 2018, McCoy and/or Misty McCoy testified that: 1) Misty McCoy

  was not an employee of McCoy Motors or Flash; 2) Misty McCoy was unemployed as of the time

  of the September 26, 2018 hearing; 3) Misty McCoy did no accounting work for McCoy Motors;

  and 4) Misty McCoy was not privy to the day to day transactions of McCoy Motors. Contrary to

  those statements, from Robertson’s testimony it now appears that Misty McCoy was a 30 hour per

  week employee of McCoy Motors and a direct participant in the events that caused McCoy and

  McCoy Motors to be held in civil contempt.

         5. With respect to McCoy Motors and Flash Autos, Robertson’s testimony about his own

  involvement in the two entities demonstrates that Flash is but a continuation of McCoy Motors

  under another name. Robertson first worked for McCoy Motors under McCoy’s direction.




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  Robertson continued to work, without disruption, after the alleged close of McCoy Motors, but for

  Flash, again at McCoy’s command. Robertson did repo work and sold cars on behalf of Flash,

  despite the fact that he never filled out employment forms for Flash. Similarly, Robertson

  continued to do repo work on behalf of McCoy Motors during the same time period, even though

  McCoy previously testified to the contrary. Essentially the same employees remained at Flash as

  had worked at McCoy Motors. The only significant change in Robertson’s employment, apart

  from differing operating hours, was that as a Flash employee, he no longer received direct deposit

  payments for his work. Rather, he was paid by endorsing a check given to him by either McCoy

  or Misty McCoy, returning the endorsed check to McCoy or Misty McCoy, and then McCoy or

  Misty McCoy would pay Robertson in cash—he was never paid by McCoy III or Flash Autos.

         6. In contrast to the two McCoy’s prior testimony that they had nothing to do with Flash,

  Robertson testified that McCoy helped McCoy III create Flash; that McCoy is present at the

  business on a daily basis; that McCoy maintains the same office there today as he did when McCoy

  Motors was operating; and that McCoy advises his son on Flash’s business operations, including

  approving its business deals. Meanwhile, Misty McCoy currently works for Flash in the same

  capacity that she did for McCoy Motors. She too aided McCoy III in creating Flash, providing the

  credit card to purchase and helping Robertson pick out the paint by which he repainted McCoy

  Motors’ location for use by Flash.

         7. At the November 6, 2018 hearing, an issue arose of whether the Defendants had

  attempted to intimidate Ace and its counsel by use of a Facebook account purporting to be a woman

  named “Amanda Small.” Ace contended that the Defendants had used this Facebook account to

  post disparaging references about Ace and its counsel, including an attempt to “friend” Mr.

  Henderson’s children so as to further the disparagement. On that occasion McCoy testified and




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  denied knowing anything about any such Facebook account. He further denied creating any

  Facebook posts regarding the parties/counsel to this proceeding. However, at the December 18,

  2018 hearing, Robertson confirmed that McCoy regularly used a fake Facebook account under the

  name “Amanda Small” in the course of McCoy Motors’ business. The account was employed to

  “find cars and trick the customer” such that their cars could be repossessed. Robertson further

  testified that McCoy created a Facebook post about an Ace employee. Thus, it now appears that

  Defendants McCoy Motors and McCoy were in fact reprehensibly employing the Small Facebook

  page in an effort to embarrass and intimidate Ace and its Counsel.

        SUPPLEMENTAL CONCLUSIONS AND FURTHER RECOMMENDATIONS

         It is now clear that Flash is one and the same as McCoy Motors. Further, McCoy, Misty

  McCoy, and McCoy Motors are actively transferring, dissipating, concealing, moving, and

  disposing of the property at issue in this action and are being aided in these endeavors by their son,

  McCoy III and Flash.         Additionally, it appears McCoy and Misty McCoy have perjured

  themselves in this action.

         Previously, Misty McCoy appeared not to be complicit in these untoward actions.

  Robertson’s testimony demonstrates that this conclusion was erroneous, founded on false

  testimony, and should be reconsidered. As an active participant in these misdeeds, Misty McCoy

  should be included in the civil contempt citation previously made against the other defendants;

  further, she too should be included in any criminal contempt charges.

         Given these continued activities of Defendants to defeat Ace’s rights as an owner of

  accounts and a secured lender of the Defendants with a blanket lien on their assets, it is paramount

  that prejudgment remedies be employed to preserve these assets pending trial. Purely on factual

  grounds, cause exists to appoint a receiver for the Defendant corporations.




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         However, as the follow-on decision on the receivership motion will explain in greater

  detail, there are jurisdictional and procedural difficulties in providing this relief in federal court—

  especially in a bankruptcy court. The Federal Bankruptcy Rules, which govern this action, do not

  contain an analogue to Rule 66 of The Federal Rules of Civil Procedure, the federal receivership

  rule. Thus it has been held that a bankruptcy court may not appoint a federal receiver. See Fisher

  v. Hamilton (In re Teknek, LLC), 343 B.R. 850, 873 (Bankr. N.D. Ill. 2006).

         7. As Teknek explains, there is an analog to FRCP 64 found in FRBP 7064, which permits

  a federal court sitting in bankruptcy to exercise any prejudgment remedies provided under the law

  of the state where the federal court sits. Id. at 871. In this case that would mean employing North

  Carolina prejudgment remedies, including state receivership, in South Carolina. The weight of

  authority suggests that such state prejudgment remedies may not be exercised across state lines.

  See C.J.S., Attachment § 100 (“[T]he court cannot attach property which is not within the territorial

  limits of its jurisdiction.”) See also, Det Bergenske Dampskibsselskab v. Sabre Shipping Corp.,

  341 F.2d 50, 1965 A.M.C. 234, 12 A.L.R.3d 1081 (2d Cir. 1965) (Account in bank branch in

  Southern District of New York is outside jurisdiction of U.S. District Court for the Eastern District

  of New York); Limonium Maritime, S.A. v. Mizushima Marinera, S.A., 961 F. Supp. 600, 606,

  1997 A.M.C. 2938 (S.D. N.Y. 1997) (“[F]or … attachment to be appropriate, it is clear that the

  property must be located within the district…”) (emphasis in original). Accord Allied Maritime

  Inc. v. Descatrade SA, 2010 A.M.C. 1949, 2009 WL 4884160 (S.D. N.Y. 2009), order aff'd, 620

  F.3d 70, 2011 A.M.C. 54 (2d Cir. 2010). McCoy Motors and most of the property at issue is

  located in South Carolina.

         8. There may be an ability to appoint a receiver under these egregious facts under the U.S.

  District Court’s supplemental jurisdiction pursuant 28 U.S.C. § 1367. Receivership is after all an




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  ancillary proceeding. However, the weight of authority suggests that bankruptcy courts do not

  possess supplemental jurisdiction.

           9. By contrast, federal injunctive relief appears to be available under federal law of equity

  and under FRBP 7065. As noted, this is essentially an action by a secured creditor to obtain

  possession of and to liquidate its collateral. However, freeze orders can be authorized under Rule

  65 in suits at equity or where the plaintiff has a security interest in the property at issue. See

  Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151, 158 (1st Cir. 2004); see also U.S.

  ex rel. Rahman v. Oncology Associates, 198 F.3d 489, 496–497, 45 Fed. R. Serv. 3d 131 (4th Cir.

  1999).

           10. Of particular importance, under facts like those presented, a secured lender is entitled

  to a mandatory injunction to require the borrower to gather its collateral and to “freeze” the same.

  See Clark Equipment Co. v. Armstrong Equipment Co., 431 F.2d 54, 7 U.C.C. Rep. Serv. 1249

  (5th Cir. 1970) (Where state law authorized and the security agreement required the debtor, on

  default, to assemble and make available to the creditor property subject to a lien, the federal court

  had jurisdiction to grant mandatory injunction directing defaulting debtor to assemble equipment

  and other property subject to security agreement, even though it was situated in several states, and

  make it available to creditor; creditor was not required to resort to state remedy of detinue.)

           11. Obviously, the Defendants have not been deterred by this bankruptcy courts’ prior

  injunctive orders, nor its order imposing financial sanctions for civil contempt. Given the limited

  options, it would appear that incarceration of McCoy would be a next, necessary step to obtain

  compliance.

           12. Consequently, the undersigned recommends that reference of this adversary proceeding

  be withdrawn in its whole, that further proceedings be conducted on an expedited basis, and that




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  Misty McCoy be included with the other Defendants in any contempt proceedings.

           SO ORDERED.

  This Order has been signed                                     United States Bankruptcy Court
  electronically. The Judge’s
  signature and Court’s seal
  appear at the top of the Order.




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